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 9
10                     UNITED STATES DISTRICT COURT
11                    CENTRAL DISTRICT OF CALIFORNIA
12
     LISA REINGOLD, on behalf of herself, Case No.:
13   and all others similarly situated,
                                          CLASS ACTION
14                       Plaintiff,
15         v.                             COMPLAINT
16   ELEMENTS THERAPEUTIC
17   MASSAGE, LLC,                        DEMAND FOR JURY TRIAL

18                    Defendant.
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 1                                    INTRODUCTION
 2         1.     Plaintiff Lisa Reingold (“Plaintiff”) brings this action on behalf of
 3   herself and all others similarly situated against Defendant Elements Therapeutic
 4   Massage, LLC (“Elements” or “Defendant”). Plaintiff makes the following
 5   allegations pursuant to the investigation of her counsel and based upon information
 6   and belief, except as to the allegations specifically pertaining to herself, which are
 7   based on personal knowledge:
 8                            JURISDICTION AND VENUE
 9         2.     This Court has subject matter jurisdiction pursuant to 28 U.S.C. §
10   1332(d)(2)(A) because this case is a class action where the aggregate claims of all
11   members of the proposed class are in excess of $5,000,000, exclusive of interest and
12   costs, and most members of the proposed nationwide class are citizens of states
13   different from the states of Defendant.
14         3.     This Court has general jurisdiction over Defendant because it conducts
15   substantial business within California such that Defendant has significant,
16   continuous, and pervasive contacts with the State of California.
17         4.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391 because the
18   challenged fee practices have been committed in this District and because Plaintiff
19   resides and suffered the alleged harm in this District.
20                              FACTUAL ALLEGATIONS
21         5.     Defendant Elements Therapeutic Massage, LLC has made the
22   unconscionable decision to keep charging its thousands of customers monthly
23   membership fees while closing its massage studies as the novel coronavirus,
24   COVID-19, rages throughout the world and the United States economy has gone
25   into a deep recession.
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 1             6.     Defendant is the operator of more than 250 massage studios1
 2   throughout the United States, operating in approximately 18 cities in California
 3   alone.2 Defendant offers the “Elements Wellness Program,” which is a “month-to-
 4   month membership that grants each client one massage session per month at a
 5   discounted rate. It also provides clients as many additional sessions as desired at the
 6   discounted member rate. The payment method is simply handled through auto debit
 7   once per month.”3 The monthly membership fee is approximately $79.00.
 8             7.     To sign up for Defendant’s month-to-month membership program,
 9   customers provide Defendant with their credit card or debit card information.
10   Defendant then automatically charges its customers’ credit or debit cards as
11   payments are due on a monthly basis.
12             8.     In approximately mid-March of 2020, Defendant closed all of its
13   massage studios due to the COVID-19 pandemic. However, unlike most of its
14   competitor massage studies, Defendant continued charging its customers monthly
15   membership fees— at full price. Defendant is able to unilaterally charge its
16   customers monthly fees without their consent, as it is in possession of its customers’
17   debit and credit card information. Thus, Defendant has made the deliberate decision
18   to bilk its customers out of roughly $79.00 per month while its customers do not
19   have access to Defendant’s massage studios. The sole reason Defendant’s customers
20   pay monthly membership fees is to have access to Defendant’s massage studios.
21   Now, Defendant is charging is customers full price while denying customers access
22   to its massage studios.
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25   1
         https://elementsmassage.com/national-access (last visited April 22, 2020).
26   2
         https://elementsmassage.com/all-massage-locations (last visited April 22, 2020).
27   3
         https://elementsmassage.com/membership (last visited April 22, 2020).
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 1         9.    Plaintiff seeks relief in this action individually, and on behalf of all of
 2   Defendant’s customers nationwide that have paid or were charged fees while
 3   Defendant’s massage studios were closed for Defendant’s violations of the
 4   California Consumer Legal Remedies Act (“CLRA”), Civil Code §§1750, et seq.,
 5   Unfair Competition Law (“UCL”), Bus. & Prof. Code §§ 17200, et seq., False
 6   Advertising Law (“FAL”), Bus. & Prof. Code §§ 17500, et seq., for breach of
 7   contract, unjust enrichment, and money had and received.
 8                                        PARTIES
 9         10.   Plaintiff Lisa Reingold is a citizen of California, residing in Aliso Viejo,
10   California. Ms. Reingold is a current member of Defendant’s Monthly Wellness
11   Membership, paying $79.00 per month on a month-to-month basis. Plaintiff has been
12   a month-to-month member since approximately August of 2019. In approximately
13   mid-march 2020, Defendant closed its massage studios, including the Elements
14   Massage Studio in Laguna Nigel, California that Plaintiff attended. However,
15   Defendant charged Plaintiff’s credit card in the full amount of her month-to-month
16   membership— $79.00— even though Plaintiff does not have access to any of
17   Defendant’s massage studio. Further, Defendant has not refunded Plaintiff any part
18   of her monthly fee for the time in which Defendant’s massage studios have remained
19   closed. Plaintiff signed up for Defendant’s month-to-month membership with the
20   belief and on the basis that she would have access to Defendant’s massage studios
21   at any time during the month in which she was charged. Plaintiff would not have
22   paid for the membership, or would not have paid for it on the same terms, had she
23   known that she would not have access to any of Defendant’s massage studios.
24   Plaintiff continues to face imminent harm, as Defendant continues charging its
25   customers monthly fees while all of its massage studios remain closed.
26         11.   Defendant Elements Therapeutic Massage, LLC is a Delaware limited
27   liability company that maintains its principal place of business at 9780 S. Meridian
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 1   Blvd., #400, Englewood, Colorado 80112. Defendant is the operator of more than
 2   250 massage studio nationwide, including massage studios in California.
 3                           CLASS ACTION ALLEGATIONS
 4         12.     Plaintiff brings this action as a class action under Federal Rule of Civil
 5   Procedure 23 on behalf of a Class consisting of all persons in the United States who
 6   were charged fees for a period in which Defendant’s massage studios were closed.
 7         13.     Plaintiff also seeks to represent a subclass defined as all members of
 8   the Class who are members at a massage studio in California (the “California
 9   Subclass”).
10         14.     Plaintiff reserves the right to amend or modify the Class definition with
11   greater specificity or further division into subclasses or limitation to particular issues
12   as discovery and the orders of this Court warrant.
13         15.     Excluded from the Class are the Defendant, the officers and directors
14   of the Defendant at all relevant times, members of its immediate families and their
15   legal representatives, heirs, successors or assigns and any entity in which Defendant
16   has or had a controlling interest.
17         16.     Plaintiff is a member of the Class and California Subclass she seeks to
18   represent.
19         17.     Defendant has thousands of customers nationwide that have paid or
20   were charged fees while Defendant’s massage studios were closed. Accordingly,
21   members of the Class are so numerous that their individual joinder herein is
22   impracticable. The precise number of Class members and their identities are
23   unknown to Plaintiff at this time but may be determined through discovery.
24         18.     Common questions of law and fact exist as to all Class members and
25   predominate over questions affecting only individual Class members. Common legal
26   and factual questions include, but are not limited to whether Defendant has breached
27   its contract with its customers and whether its actions are fraudulent and unlawful.
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 1          19.    The claims of the named Plaintiff are typical of the claims of the Class
 2   in that the named Plaintiff was exposed to Defendant’s false and misleading
 3   advertising and was charged membership fees despite being barred from entry into
 4   Defendant’s massage studios, and suffered losses as a result.
 5          20.    Plaintiff is an adequate representative of the Class because Plaintiff’s
 6   interests do not conflict with the interests of the Class members Plaintiff seek to
 7   represent, Plaintiff has retained competent counsel experienced in prosecuting class
 8   actions, and Plaintiff intends to prosecute this action vigorously. The interests of
 9   Class members will be fairly and adequately protected by Plaintiff and her counsel.
10          21.    The class mechanism is superior to other available means for the fair
11   and efficient adjudication of the claims of the Class members. Each individual Class
12   member may lack the resources to undergo the burden and expense of individual
13   prosecution of the complex and extensive litigation necessary to establish
14   Defendant’s liability. Individualized litigation increases the delay and expense to all
15   parties and multiplies the burden on the judicial system presented by the complex
16   legal and factual issues of this case. Individualized litigation also presents a potential
17   for inconsistent or contradictory judgments. In contrast, the class action device
18   presents far fewer management difficulties and provides the benefits of single
19   adjudication, economy of scale, and comprehensive supervision by a single court on
20   the issue of Defendant’s liability. Class treatment of the liability issues will ensure
21   that all claims and claimants are before this Court for consistent adjudication of the
22   liability issues.
23                               FIRST CAUSE OF ACTION
24                Violation of California’s Consumers Legal Remedies Act
25                              Cal. Civ. Code §§ 1750, et seq.
26          22.    Plaintiff hereby incorporates by reference the allegations contained in
27   all preceding paragraphs of this complaint.
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 1         23.    Plaintiff brings this claim individually and on behalf of members of the
 2   proposed Class against Defendant. Plaintiff also brings this claim individually and
 3   on behalf of members of the proposed California Subclass against Defendant.
 4         24.    Plaintiff and Class members are consumers who paid fees for use of
 5   Defendant’s massage studios for personal, family or household purposes. Plaintiff
 6   and the Class are “consumers” as that term is defined by the CLRA in Cal. Civ. Code
 7   § 1761(d).
 8         25.    Defendant’s massage studio access that Plaintiff and Class members
 9   purchased from Defendant was a “service” within the meaning of Cal. Civ. Code §
10   1761(b).
11         26.    Defendant’s actions, representations, and conduct have violated, and
12   continue to violate the CLRA, because they extend to transactions that intended to
13   result, or which have resulted in, the sale of services to consumers.
14         27.    Defendant’s advertising that its massage studios would be available to
15   its customers and that its customers would have access to its massage studios upon
16   paying a membership fee is false and misleading to a reasonable consumer, including
17   Plaintiff, because Defendant in fact closed all of its massage studios while
18   continuing to charge its customers the full price of membership.
19         28.    California’s Consumers Legal Remedies Act, Cal. Civ. Code §
20   1770(a)(5), prohibits “[r]epresenting that goods or services have sponsorship,
21   approval, characteristics, ingredients, uses, benefits, or quantities which they do not
22   have or that a person has a sponsorship, approval, status, affiliation, or connection
23   which he or she does not have.” By engaging in the conduct set forth herein,
24   Defendant violated and continue to violate Section 1770(a)(5) of the CLRA, because
25   Defendant’s conduct constitutes unfair methods of competition and unfair or
26   fraudulent acts or practices, in that Defendant misrepresent the particular
27   characteristics, benefits and quantities of the services.
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 1          29.    Cal. Civ. Code § 1770(a)(7) prohibits representing that goods or
 2   services are of a particular standard, quality, or grade, or that goods are of a particular
 3   style or model, if they are of another. By engaging in the conduct set forth herein,
 4   Defendant violated and continues to violate Section 1770(a)(7) of the CLRA,
 5   because Defendant’s conduct constitutes unfair methods of competition and unfair
 6   or fraudulent acts or practices, in that Defendant misrepresents the particular
 7   standard, quality or grade of the services.
 8          30.    Cal. Civ. Code § 1770(a)(9) further prohibits “[a]dvertising goods or
 9   services with intent not to sell them as advertised.” By engaging in the conduct set
10   forth herein, Defendant violated and continues to violate Section 1770(a)(9), because
11   Defendant’s conduct constitutes unfair methods of competition and unfair or
12   fraudulent acts or practices, in that Defendant advertises services with the intent not
13   to sell the services as advertised.
14          31.    Plaintiff and the Class acted reasonably when they purchased
15   Defendant’s massage studio membership on the belief that Defendant’s
16   representations were true and lawful.
17          32.    Plaintiff and the Class suffered injuries caused by Defendant because
18   (a) they would not have purchased or paid for Defendant’s massage studio
19   memberships absent Defendant’s representations and omission of a warning that it
20   would continue charging customers’ credit cards and debit cards while all massage
21   studios nationwide are closed; (b) they would not have purchased massage studio
22   memberships on the same terms absent Defendant’s representations and omissions;
23   (c) they paid a price premium for Defendant’s massage studio membership based on
24   Defendant’s misrepresentations and omissions; and (d) Defendant’s massage studio
25   memberships did not have the characteristics, benefits, or quantities as promised.
26          33.    Under California Civil Code § 1780(a), Plaintiff and members of the
27   Class seek injunctive and equitable relief for Defendant’s violations of the CLRA.
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 1   Plaintiff will mail an appropriate demand letter consistent with California Civil Code
 2   § 1782(a). If Defendant fails to take corrective action within 30 days of receipt of
 3   the demand letter, Plaintiff will amend her complaint to include a request for
 4   damages as permitted by Civil Code § 1782(d).
 5         34.    Wherefore, Plaintiff seeks injunctive and equitable relief for these
 6   violations of the CLRA.
 7                              SECOND CAUSE OF ACTION
 8                  Violation of California’s Unfair Competition Law
 9                        Cal. Bus. & Prof. Code §§ 17200, et seq.
10         35.    Plaintiff hereby incorporates by reference the allegations contained in
11   all preceding paragraphs of this complaint.
12         36.    Plaintiff brings this claim individually and on behalf of the members of
13   the proposed Class against Defendant. Plaintiff also brings this claim individually
14   and on behalf of members of the proposed California Subclass against Defendant.
15         37.    Defendant is subject to California’s Unfair Competition Law, Cal. Bus.
16   & Prof. Code §§ 17200, et seq. The UCL provides, in pertinent part: “Unfair
17   competition shall mean and include unlawful, unfair or fraudulent business practices
18   and unfair, deceptive, untrue or misleading advertising ….”
19         38.    Defendant’s advertising that its massage studios would be available to
20   its customers, and that its customers would have access to its massage studios upon
21   paying a membership fee is false and misleading to a reasonable consumer, including
22   Plaintiff, because Defendant in fact closed all of its massage studios while
23   continuing to charge its customers the full price of massage studio membership.
24         39.    Defendant’s business practices, described herein, violated the
25   “unlawful” prong of the UCL by violating the CLRA, the FAL, and other applicable
26   law as described herein.
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 1          40.    Defendant’s business practices, described herein, violated the “unfair”
 2    prong of the UCL in that its conduct is substantially injurious to consumers, offends
 3    public policy, and is immoral, unethical, oppressive, and unscrupulous, as the gravity
 4    of the conduct outweighs any alleged benefits. Defendant’s advertising and its
 5    charging of membership fees while its massage studios are closed is of no benefit to
 6    consumers.
 7          41.    Defendant violated the fraudulent prong of the UCL by misleading
 8    Plaintiff and the Class to believe that they would only be charged fees when they
 9    would have access to Defendant’s massage studios.
10          42.    Plaintiff and the Class acted reasonably when they signed up for
11    memberships based on the belief that they would only be charged fees when
12    Defendant’s massage studios were open and accessible.
13          43.    Plaintiff and the Class lost money or property as a result of Defendant’s
14    UCL violations because (a) they would not have purchased or paid for Defendant’s
15    massage studio memberships absent Defendant’s representations and omission of a
16    warning that it would continue charging customers’ credit cards and debit cards
17    while all massage studios nationwide are closed; (b) they would not have purchased
18    massage studio memberships on the same terms absent Defendant’s representations
19    and omissions; (c) they paid a price premium for Defendant’s massage studio
20    membership based on Defendant’s misrepresentations and omissions; and (d)
21    Defendant’s massage studio memberships did not have the characteristics, benefits,
22    or quantities as promised.
23                                 THIRD CAUSE OF ACTION
24                    Violation of California’s False Advertising Law
25                         Cal. Bus. & Prof. Code §§ 17500, et seq.
26          44.    Plaintiff hereby incorporates by reference the allegations contained in
27    all preceding paragraphs of this complaint.
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 1          45.     Plaintiff brings this claim individually and on behalf of the members of
 2    the proposed Class against Defendant. Plaintiff also brings this claim individually
 3    and on behalf of the members of the proposed California Subclass against
 4    Defendant.
 5          46.     California’s False Advertising Law, Cal. Bus. & Prof. Code §§ 17500,
 6    et seq., makes it “unlawful for any person to make or disseminate or cause to be
 7    made or disseminated before the public in this state, ... in any advertising device ...
 8    or in any other manner or means whatever, including over the Internet, any
 9    statement, concerning ... personal property or services, professional or otherwise, or
10    performance or disposition thereof, which is untrue or misleading and which is
11    known, or which by the exercise of reasonable care should be known, to be untrue
12    or misleading.”
13          47.     Defendant engaged in a scheme of charging customers full monthly
14    membership fee while its massage studios were closed. Defendant’s advertising and
15    marketing of its massage studios as being accessible during the membership fee
16    period misrepresented and/or omitted the true content and nature of Defendant’s
17    services. Defendant knew that these statements were unauthorized, inaccurate, and
18    misleading.
19          48.     Defendant’s advertising that its massage studios would be available to
20    its customers during the membership period, and that its customers would have
21    access to its massage studios upon paying a membership fee is false and misleading
22    to a reasonable consumer, including Plaintiff, because Defendant in fact closed all
23    of its massage studios while continuing to charge its customers the full price of
24    massage studio membership.
25          49.     Defendant violated § 17500, et seq. by misleading Plaintiff and the
26    Class to believe that they would be charged fees only when they have access to
27    Defendant’s massage studios.
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 1          50.    Defendant knew or should have known, through the exercise of
 2    reasonable care that its advertising of its massage studios as being accessible during
 3    the membership period is false and misleading. Further, Defendant knew or should
 4    have known that it was breaching its contracts with its customers and fraudulently
 5    charging fees when it continued charging fees while all of its massage studios were
 6    closed.
 7          51.    Plaintiff and the Class lost money or property as a result of Defendant’s
 8    FAL violation because (a) they would not have purchased or paid for Defendant’s
 9    massage studio memberships absent Defendant’s representations and omission of a
10    warning that it would continue charging customers’ credit cards and debit cards
11    while all massage studios nationwide are closed; (b) they would not have purchased
12    massage studio memberships on the same terms absent Defendant’s representations
13    and omissions; (c) they paid a price premium for Defendant’s massage studio
14    membership based on Defendant’s misrepresentations and omissions; and (d)
15    Defendant’s massage studio memberships did not have the characteristics, benefits,
16    or quantities as promised.
17                             FOURTH CAUSE OF ACTION
18                                    Breach of Contract
19          52.    Plaintiff hereby incorporates by reference the allegations contained in
20    all preceding paragraphs of this complaint.
21          53.    Plaintiff brings this claim individually and on behalf of the members of
22    the proposed Class against Defendant. Plaintiff also brings this claim individually
23    and on behalf of the members of the proposed California Subclass against
24    Defendant.
25          54.    Defendant entered into contracts with Plaintiff and Class members to
26    provide access to massage services in exchange for the payment of membership fees.
27    Defendant has breached these contracts by continuing to charge Plaintiff and Class
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 1    members’ debit and credit cards while its massage studios remain closed. Plaintiff
 2    and Class members have suffered an injury through the payment of membership fees
 3    while not having access to Defendant’s massage studios.
 4                               FIFTH CAUSE OF ACTION
 5                                    Unjust Enrichment
 6          55.     Plaintiff hereby incorporates by reference the allegations contained in
 7    all preceding paragraphs of this complaint.
 8          56.     Plaintiff brings this claim individually and on behalf of the members of
 9    the proposed Class against Defendant. Plaintiff also brings this claim individually
10    and on behalf of the members of the proposed California Subclass against
11    Defendant.
12          57.     Plaintiff and members of the Class conferred benefits on Defendant by
13    paying, and being charged, membership fees while Defendant’s massage studios
14    were and remain closed.
15          58.     Defendant has knowledge of such benefits.
16          59.     Defendant has been unjustly enriched in retaining the revenues derived
17    from Plaintiff and Class members’ membership fees. Retention of those moneys
18    under these circumstances is unjust and inequitable because Defendant is charging
19    its customers full price while its massage studios remain closed. These
20    misrepresentations and charges caused injuries to Plaintiff and members of the Class
21    because they would not have paid Defendant’s membership fees had the true facts
22    been known.
23          60.     Because Defendant’s retention of the non-gratuitous benefits conferred
24    on it by Plaintiff and members of the Class is unjust and inequitable, Defendant must
25    pay restitution to Plaintiff and members of the Class for their unjust enrichment, as
26    ordered by the Court.
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 1                              SIXTH CAUSE OF ACTION
 2                                Money Had and Received
 3          61.    Plaintiff hereby incorporates by reference the allegations contained in
 4    all preceding paragraphs of this complaint.
 5          62.    Plaintiff brings this claim individually and on behalf of the members of
 6    the proposed Class against Defendant. Plaintiff also brings this claim individually
 7    and on behalf of the members of the proposed California Subclass against
 8    Defendant.
 9          63.    Defendant received money in the form of membership fees that was
10    intended to be used for the benefit of Plaintiff and the Class, those membership fees
11    were not used for the benefit of Plaintiff and the Class, and Defendant has not given
12    back or refunded the wrongfully obtained money and membership fees to Plaintiff
13    and the Class.
14          64.    Defendant obtained money in the form of membership fees that were
15    intended to be used to provide massage studio access to Plaintiff and the Class.
16    However, Defendant has retained all of the membership fees while its massage
17    studios remain closed.
18                                 PRAYER FOR RELIEF
19          WHEREFORE, Plaintiff, individually and on behalf of all others similarly
20    situated, seeks judgment against Defendant, as follows:
21       a) For an order certifying the Class under Rule 23 of the Federal Rules of Civil
22          Procedure and naming Plaintiff as representative of the Class and Plaintiff’s
23          attorneys as Class Counsel to represent the Class members;
24       b) For an order certifying the California Subclass under Rule 23 of the Federal
25          Rules of Civil Procedure and naming Plaintiff as representative of the
26          California Subclass and Plaintiff’s attorneys as Class Counsel to represent
27          the California Subclass members;
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 1       c) For an order declaring that Defendant’s conduct violates the statutes and
 2          laws referenced herein;
 3       d) For an order finding in favor of Plaintiff, the Class, and the California
 4          Subclass, on all counts asserted herein;
 5       e) For compensatory and punitive damages in amounts to be determined by the
 6          Court and/or jury;
 7       f) For prejudgment and postjudgment interest on all amounts awarded;
 8       g) For an order of restitution and all other forms of equitable monetary relief;
 9       h) For injunctive relief as pleaded or as the Court may deem proper; and
10       i) For an order awarding Plaintiff and the Class their reasonable attorneys’ fees
11          and expenses and costs of suit.
12                            DEMAND FOR TRIAL BY JURY
13          Plaintiff demands a trial by jury of all issues so triable.
14
15
16    Dated:       April 22, 2020             /s/ Ronald A. Marron
17                                            By: Ronald A. Marron
                                              LAW OFFICES OF RONALD A.
18                                            MARRON, APLC
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24                                            Attorneys for Plaintiff and the Proposed
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